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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X          Index No.: 07CIV6372
ADONNA FROMETA,
                                                                                 PLAINTIFF’S LIST OF
                                                                                 EXHIBITS
                                        Plaintiff,

                    -against-

MARIO E. DIAZ-DIAZ, ALL AMERICAN HAULERS
RECYCLING
                                        Defendants.
---------------------------------------------------------------------X

        Plaintiff’s Exhibits:

        1.    MRI report of Plaintiff’s Cervical Spine dated March 10, 2007 with its artistic depiction.
        2.    MRI report of Plaintiff’s Lumbar Spine dated March 10, 2007 with its artistic depiction.
        3.    Surgical report of Plaintiff’s Lumbar Spine Surgery dated May 17th, 2007 with its artistic depiction.
        4.    Surgical report of Plaintiff’s Cervical Spine Surgery dated December 13th, 2007 with its artistic
              depiction.
        5.    Surgical report of Plaintiff’s Lumbar Spine neuro-stimulator implant dated May 8th, 2008 with its
              artistic depiction.
        6.    Surgical report of Plaintiff’s Cervical Spine neuro-stimulator implant dated June 5th, 2008 with its
              artistic depiction.
        7.    Surgical report of Plaintiff’s Cervical Epidural Steroid Injections with their artistic depiction.
        8.    Surgical report of Plaintiff’s Lumbar Epidural Steroid Injections with their artistic depiction.
        9.    Ambulance Call Report dated February 14th, 2007.
        10.   Medical and billing records from Cabrini Hospital dated February 14th, 2007, May 17th, 2007 and
              May 18th, 2007.
        11.   Medical and billing records from Midtown Medical Practice, PC.
        12.   Medical and billing records from Andrew A. Davy, MD.
        13.   Medical and billing records from Arden Kaisman, MD.
        14.   Medical and billing records from Myrtle Pharmacy.
        15.   Medical and billing records from Ramesh Babu, MD.
        16.   Medical and billing records from Westchester Medical Care, PC (Ranga Krishna, MD).
        17.   Medical and billing records from Xcalibur Chiropractic, PC.
        18.   Medical and billing records from the Brooklyn Hospital Center.
        19.   Deposition transcript of Adonna Frometa.
        20.   Deposition transcript of Mario E. Diaz – Diaz.
        21.   Deposition transcript of Dr. Andrew Davy.
        22.   Deposition transcript of Dr. Ranga Krishna.
        23.   Deposition transcript of Dr. Ramesh Babu.
        24.   Deposition transcript of Dr. Charles Kincaid.
        25.   8 photos of Plaintiff’s vehicle.
        26.   Police report.
        27.   Entire file from Dr. Charles Kincaid.
        28.   Trial transcript.
        29.   Plaintiff’s and defendants’ Requests to Charge.
        30.   Jury Verdict Sheet and Judgment.
        31.   Plaintiff’s bad faith letters to Carolina Casualty Insurance and State Farm Insurance Company.




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